   Case: 1:17-md-02804 Doc #: 3625 Filed: 02/04/21 1 of 2. PageID #: 509054




                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                      CONDITIONAL TRANSFER ORDER (CTO í185)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 2,096 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                         Feb 04, 2021
                                                      John W. Nichols
                                                      Clerk of the Panel
 Case: 1:17-md-02804 Doc #: 3625 Filed: 02/04/21 2 of 2. PageID #: 509055




IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                  SCHEDULE CTOí185 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


LOUISIANA EASTERN

                                   St. Bernard Parish School Board v. Allergan Limited et
  LAE       2       21í00010       al

MISSISSIPPI NORTHERN

                                   City of Webb, Mississippi v. Amerisourcebergen Drug
  MSN       3       21í00006       Corporation et al
